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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


LAMONT HEARD #252329, et al.,

               Plaintiffs,

v.                                                   Case No.1:13-CV-373

TOM FINCO, et al.,                                   Hon. GORDON J. QUIST

            Defendants.
_________________________________/


                                            ORDER

               IT IS HEREBY ORDERED that this matter is referred to Magistrate Judge Ellen S.

Carmody solely for the purpose of appointment of counsel and related procedural matters pursuant

to the Pro Bono Plan of the United States District Court for the Western District of Michigan. See

W.D. Mich. Admin. Order Nos. 03-003 and 03-004.

               IT IS FURTHER ORDERED that all proceedings in this matter are stayed pending

the appointment of counsel, with the exception this Court’s ruling on Plaintiffs’ Objections to the

magistrate judge’s March 27, 2015 Report and Recommendation and Plaintiffs’ Motion for Leave

to File (dkt. ## 187–89). Following the appointment of counsel, the Court will schedule a status

conference to determine future case scheduling.

               IT IS SO ORDERED.



Dated: May 4, 2015                                         /s/ Gordon J. Quist
                                                          GORDON J. QUIST
                                                     UNITED STATES DISTRICT JUDGE
